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 1   KYLE R. KNAPP (SBN 166597)
     ATTORNEY AT LAW
 2
     1120 D Street, Suite 100
 3   Sacramento, CA. 95814
     Tel. (916) 441-4717
 4   Fax (916) 441-4299
     E-Mail: kyleknapp@sbcglobal.net
 5

 6   Attorney for Defendant
     ALGERNON TAMASOA
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     )       No: 15-CR-00209-GEB
                                                   )
12                                                 )       STIPULATION AND
            Plaintiff,                             )       [PROPOSED] ORDER REGARDING TRIAL
13                                                 )       CONFIRMATION CONFERENCE
     v.                                            )
14                                                 )
     ALGERNON TAMASOA,                             )       Date: 6/16/17
15                                                 )       Time: 9:00
                                                   )       Judge: Honorable Garland E. Burrell, Jr.
16                                                 )
            Defendants.                            )
17                                                 )
                                                   )
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20          Defendant Algernon Tamasoa seeks to vacate the trial confirmation conference currently
21   set for May 26, 2017 and set the matter for status conference on June 16, 2017. His plea in
22   companion case 15-Cr-00124-KJM will soon result in the dismissal of this action. He pled to a
23   super-ceding information that encompassed the conduct in the present matter. Mr. Tamasoa is
24   due to be sentenced before Judge Mueller on May 31, 2017.
25          There is no need for an exclusion of time as time was previously excluded to the
26   currently set June 20, 2017 trial date.
27          IT IS HEREBY stipulated between the United States of America through its undersigned
28   counsel, Justin Lee, Assistant United States Attorneys, attorneys for plaintiff and Kyle Knapp,


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 1   attorney for defendant Algernon Tamasoa, that the trial confirmation conference in this matter
 2   be vacated and the matter re-set for status conference on June 16, 2017.
 3   IT IS SO STIPULATED.
 4

 5   Dated: May 24, 2017                                         PHILLIP A. TALBERT
                                                                 UNITED STATES ATTORNEY
 6
                                                         by:     /s/ Justin Lee
 7
                                                                 JUSTIN LEE
 8                                                               Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
 9

10
     Dated: May 24, 2017                                         /s/ Kyle R. Knapp
                                                                 KYLE KNAPP
11                                                               Attorney for Defendant
                                                                 ALGERNON TAMASOA
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 1
                                                 ORDER
 2
            The Stipulation of the parties is hereby accepted and the trial confirmation conference
 3
     currently set for May 26, 2017 is vacated and the matter reset for status conference, as to Mr.
 4
     Tamasoa only, on June 16, 2017.
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 6          IT IS SO ORDERED.

 7   Dated: May 25, 2017
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